
55 So.3d 683 (2011)
Kevin DEMING, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-126.
District Court of Appeal of Florida, Fifth District.
February 25, 2011.
Mark S. Germain of Law Offices of Germain &amp; Coulter, Melbourne, for Petitioner.
Pamela J. Bondi, Attorney General, Tallahassee, and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in Case No. 2009-CF-047002-A, in the Circuit court in and for Brevard *684 County, Florida, see Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
PALMER, LAWSON and JACOBUS, JJ., concur.
